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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


    In Re: COOK MEDICAL, INC., IVC FILTERS
    MARKETING, SALES PRACTICES AND                         Case No. 1:14-ml-2570-RLY-TAB
    PRODUCTS LIABILITY LITIGATION                          MDL No. 2570


    This Document Relates to All Actions


                         AMENDED ORDER REGARDING
        PLAINTIFFS’ FAILURE TO PRODUCE CASE CATEGORIZATION FORMS

          Pursuant to the Court’s Order on the Cook Defendants’ Motion for Screening Order and

   Bellwether Plan (Doc. 9322) and the Court’s Order Regarding Case Categorization and Census

   (Doc. 9638) (collectively with this Order, the “Court’s Categorization Orders”) the Court ordered

   Plaintiffs to categorize their cases in Categories Nos 1-7 and submit specific medical records

   supporting categorization by December 22, 2018.

          All plaintiffs that have not complied with that deadline are ordered to categorize using the

   form attached as Exhibit A to Doc. 9638, including the requirement to produce specific medical

   records by January 31, 2019. All plaintiffs that have not complied with the Court’s Categorization

   Orders by January 31, 2019, shall be dismissed without prejudice.

          Cook is ordered to provide the Court with a list of all plaintiffs that fail to comply with the

   Court’s Categorization Orders seven days later, on February 7, 2019, for entry of dismissal.

          SO ORDERED this 17th day of January 2019




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